 

Case: 1:20-cv-03687 Document #: 1 Filed: 06/23/20 Page 1 of 13 PagelD “a
A)

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

UNITED STATES DISTRICT COURT |

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G.
Antoine CLERK, U.S. DISTRICT Cobar

 

Aa Ket ! r
(Enter above the full name

of the plaintiff or plaintiffs in
this action)

vs. Case No:

| | . | ¢ (To be supplied by the Clerk of this Court)

Mel IP | ( C LK; ; ) 1:20-cv-03687

Na ! ty Judge Robert W. Gettleman

Mr.Beachvan (Supt Ovishay'), — Magistrate Judge Sheila M. Finnegan
PC 2

“hemns J, Dat Chef chCaut)

(Enter above the full name of ALL

defendants in this action. Do not
use "et al.")

 

 

WT

 

CHECK ONE ONLY:

be
Y COMPLAINT UNDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983 i
U.S. Code (state, county, or municipal defendants)

COMPLAINT UNDER THE CONSTITUTION (""BIVENS" ACTION), TITLE
28 SECTION 1331 U.S. Code (federal defendants)

OTHER (cite statute, if known)

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRUC TIONS FOR
FILING." FOLLOW THESE INSTRUCTIONS CAREFULLY.

 

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
 

Case: 1:20-cv-03687 Document #: 1 Filed: 06/23/20 Page 2 of 13 PagelD #:2

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

Plaintiff(s):

A.

B
C.
D

Name: Deon Antoine Baker
List al] aliases: none
Prisoner identification number: edl 0} To C 0605 D

4 -_"
Place of present confinement: uns je

Address: L6& ;

  
 

(If there is more than one plaintiff, then each plaintiff must list his or her name, aliases, I.D.
number, place of confinement, and current address according to the above format on a
separate sheet of paper.)

Defendant(s):

(In A below, place the full name of the first defendant in the first blank, his or her official
position in the second blank, and his or her place of employment in the third blank. Space
for two additional defendants is provided in B and C.)

A.

(If you have more than three defendants, then all additional defendants must be listed.

Defendant: Amanda ( ae | xaos

Title: Exe cutive Piector

 

 
 
 

Place of Employment:

-
Defendant: Jose g oh G lutte

Title: Executive of Clascif ication

 

Place of Employment: Cook Cammy Departmantett nitections

Defendant: “Thomas VU. Dart
Title: _Sheritt of Cook County

; rs) |
Place of Employment: Cock Coun ts/Sheri@fs Department __

according to the above format on a separate sheet of paper.)

2 Revised 9/2007

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——Place of Employment Coch Cony utoets Caerins

 

 

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Title & Executive of Cental Kitchen

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Il. List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
court in the United States:

A.

B. Approximate date of filing lawsuit: April — 2014

Cc. List all plaintiffs (if you had co-plaintiffs), clot a aliases:
Deon Antoine. Bake

 

 

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E, Court in which the lawsuit was filed (if federa] court, name the district; if state court,

 

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name the county): fare Court L MO, Uk S OF) Ce OOF OUNTY Hans Terre

Anited States District Court 219.5; Dearbom ‘Chao LAN DiSt Es Dj
F. Name of judge to whom ae was assigned:

 

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G. Basic claim made:
sanencled),

 

H. Disposition of this case (for example: Was the case dismissed? Was it appealed?
Is it still pending?): Still Penclina

 

 

1. Approximate date of disposition: Yione CG I perc ina)

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.

3 Revised 9/2007

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{If you need additional space for ANY section, please attach an additional sheet and reference that section}

IV. Statement of Claim:

State here as briefly as possible the facts of your case. Describe how each defendant is
involved, including names, dates, and places. Do not give any legal arguments or cite any
cases or statutes. If you intend to allege a number of related claims, number and set forth
each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets

if necessary.)
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V. Relief:

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite
no cases or statutes.

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VI. The plaintiff demands that the case be tried by a Jury. O YES MM NO

CERTIFICATION

By signing this Complaint, I certify that the facts stated in this
Complaint are true to the best of my knowledge, information and
belief. I understand that if this certification is not correct, I may be
subject to sanctions by the Court.

Signedthis 4 dayof OG 2020

dLesnyPa kyr

(Signature of plaintiff or plaintiffs)

Deon Antoine Baker

(Print name)

20/10 SPbOSO

(I.D. Number)

 

 

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(Address)

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Thomas J. Dart . Amanda Gallegos
Sheriff of Cook County Feenstra
Cook County Sherif
Records Department -
2700 South California Avenme
Chicago, Hiinais 60613

Tek: (773) 674-5201
E-Mail: doc_records@: Sceskcouni yey

VERIFICATION OF INCARCERATION

Jail Booking Number: DaGSulOsa

 

Regarding: Kear eon Ab

Today's Dats: Nac ch 5) 0030 |

Subject’s Name

Date of Birth: O4-39~ 89 Social Secutity # Gt.avaiable) XXXXKXXXXXXXXKKKXX

 

Pursuant to your request, the following information is submitted:

Date entered CCDOC custody: Moy (p, 2617

 

| Case #1
Date Released: Dy (yy ste dy
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Case #2

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1:20-cv-03687
Judge Robert W. Gettleman
Magistrate Judge Sheila M. Finnegan

 

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